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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                              :
                                    : Case No.: 22-11666
David Alderfer,                     : Chapter 13
                                    : Judge Ashely M. Chan
                            Debtor. : * * * * * * * * * * * * * * * * * *
                                    :
                                    :
                                    :
                                    : Related Document #38

                    PRAECIPE OF WITHDRAWAL OF OBJECTION
                   TO CONFIRMATION OF PLAN (DOCKET NO. 38)

       Now comes KeyBank N.A. as servicer for Freddie Mac ("Creditor") by and through

counsel, and hereby withdraws its Objection to Confirmation of Plan which was filed in this

Court on March 20, 2023. Per communication dated October 6, 2023, the loan is current.

                                                   Respectfully submitted,

                                                   /s/Alyk L. Oflazian
                                                   Alyk L. Oflazian, Esquire (312912)
                                                   Adam B. Hall (323867)
                                                   Manley Deas Kochalski LLC
                                                   P.O. Box 165028
                                                   Columbus, OH 43216-5028
                                                   Telephone: 614-220-5611
                                                   Fax: 614-627-8181
                                                   Attorneys for Creditor
                                                   The case attorney for this file is Alyk L.
                                                   Oflazian.
                                                   Contact email is
                                                   ALOflazian@manleydeas.com




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                                    :
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                                CERTIFICATE OF SERVICE

       I certify that on the date of filing, a copy of the foregoing Praecipe of Withdrawal of

Objection to Confirmation of Plan (Docket No. 38) was filed electronically. Notice of this filing

will be sent to the following parties through the Court's Electronic Case Filing System:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Kenneth E. West, Chapter 13 Trustee, ecfemails@ph13trustee.com

   Robert Edward Angst, Attorney for David Alderfer, RobertAngst@Angstlaw.com

       I certify that on the date of filing, a copy of the foregoing document was sent by U.S.

Mail to the following:

   David Alderfer, 240 Morwood Road, Harleysville, PA 19438


                                                       /s/Alyk L. Oflazian




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